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                    UNITED STATES COURT OF APPEALS                     FILED
                            FOR THE NINTH CIRCUIT                      NOV 16 2023
                                                                   MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS


In re: BEN TOMA, Speaker of the Arizona        No.   23-70179
House of Representatives, in his official
Capacity; WARREN PETERSEN,                     D.C. No. 2:22-cv-00509-SRB
President of the Arizona Senate, in his        District of Arizona,
official capacity,                             Phoenix
______________________________

BEN TOMA, Speaker of the Arizona               ORDER
House of Representatives, in his official
capacity; WARREN PETERSEN, President
of the Arizona Senate, in his official
capacity,

             Petitioners,

v.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA,
PHOENIX,

             Respondent,

MI FAMILIA VOTA; et al.,

             Real Parties in Interest.


Before: RAWLINSON, HURWITZ, and OWENS, Circuit Judges.

      The emergency stay by a motions panel of the district court’s September 14,

2023 discovery order is hereby lifted, effective immediately. See Docket #9.
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Having considered the parties’ briefing and oral argument, we conclude that the

circumstances no longer justify a stay order. See United States v. Lopez-Armenta,

400 F.3d 1173, 1175 (9th Cir. 2005) (noting that “the order of the motions

panel . . . does not preclude us from reaching a contrary decision”).

         A written disposition containing the panel’s reasoning will be filed in short

order.




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